Case 19-50505-btf11 Doc 92-3 Filed 12/16/19 Entered 12/16/19 17:00:59 Desc
   Exhibit Amended    Engagement
            EXHIBIT 102             Letter Signed
                        AMENDED ENGAGEMENT         by BrianBYand
                                           LETTER EXECUTED        Cindy
                                                              BRIAN        Page 1 of 2
                                                                    AND CINDY
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                                                                    AND CINDY
